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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

UNITED STATES OF AMERICA,               )
                                        )
            Plaintiff,                  )
                                        )
       v.                               )                 No.
                                        )
ONE HUNDRED FORTY-SEVEN THOUSAND )
DOLLARS IN U.S. CURRENCY ($147,000.00), )
                                        )
            Defendant.                  )

                        VERIFIED COMPLAINT OF FORFEITURE

       COMES NOW, Plaintiff, the United States of America, by and through its attorneys, Sayler

A. Fleming, United States Attorney for the Eastern District of Missouri, and Jonathan A. Clow,

Assistant United States Attorney, for said district, and for its Verified Complaint for Forfeiture

states as follows:

                                  NATURE OF THE ACTION

       1.      This is a civil action in rem brought by the United States of America seeking

forfeiture of all right, title, and interest in the above-captioned defendant property pursuant Title

21, United States Code, Section 881(a)(6) and Title 18, United States Code, Sections 981(a)(1)(A)

and (C).

       2. The defendant property was seized by law enforcement on or about May 6, 2021, and

is described more fully as one hundred forty-seven thousand dollars in U.S. currency

($147,000.00) (the “defendant property”).

                                 JURISDICTION AND VENUE

       3.      The Court has jurisdiction over this action pursuant to Title 28, United States Code,

Sections 1345, 1355, and 1395.

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       4.      Venue is proper pursuant to Title 28, United States Code, Section 1355(b)(1)(A)

because the acts and omissions giving rise to forfeiture took place in the Eastern District of

Missouri.

                                 STATUTORY FRAMEWORK

       5.      Title 21, United States Code, Section 881(a)(6) authorizes the civil forfeiture of “all

moneys, negotiable instruments, securities, or other things of value furnished or intended to be

furnished by any person in exchange for a controlled substance or listed chemical in violation of

this subchapter, all proceeds traceable to such an exchange, and all moneys, negotiable

instruments, and securities used or intended to be used to facilitate any violation of this

subchapter.”

       6.      Title 18, United States Code, Section 1956(a)(1)(A)(i) criminalizes conducting a

transaction, including transfer, delivery, or other disposition, knowing that such transaction

represents the proceeds of some form of unlawful activity and that in fact involves the proceeds of

a specific unlawful activity, including violations of the Controlled Substances Act, with the intent

to promote the carrying on of the specified unlawful activity.

       7.      Title 18, United States Code, Section 1956(a)(1)(B) criminalizes conducting a

transaction, including transfer, delivery, or other disposition, knowing that such transaction

represents the proceeds of some form of unlawful activity and that in fact involves the proceeds of

a specific unlawful activity, including violations of the Controlled Substances Act, knowing that

the transaction is designed in whole or in part to conceal or disguise the nature, location, source,

ownership, or control of the proceeds of the specified unlawful activity.

       8.      Pursuant to Title 18, United States Code, Section 981(a)(1)(A), any property, real

or personal, involved in a transaction or attempted transaction in violation of section 1956 of Title



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18, or any property traceable to such property, is subject to civil forfeiture.

        9.      Title 18, United States Code, Section 1952 criminalizes traveling in interstate

commerce with the intent to distribute the proceeds of any unlawful activity, including a business

enterprise involving controlled substances, or otherwise promoting, managing, establishing, carry

on, or facilitating the promotion, management, establishment, or carrying on, of such unlawful

activity.

        10.     Pursuant to Title 18, United States Code, Section 981(a)(1)(C), any property, real

or personal, which constitutes or is derived from proceeds traceable to a violation of Title 18,

United States Code, Section 1952 is subject to civil forfeiture.

                          FACTS GIVING RISE TO THE FORFEITURE

        11.     On or about May 6, 2021, law enforcement was conducting surveillance of

Francisco Vargas (“Vargas”) based on information that Vargas was participating in drug

trafficking activities.

        12.     That morning, law enforcement observed Vargas at a Quality Inn hotel located in

St. Louis, Missouri. Law enforcement observed Vargas exit the hotel, enter a 2019 Toyota Corolla

(“Corolla”), and drive to the other side of the hotel. Vargas then re-entered the hotel before

returning to the Corolla and driving away.

        13.     Vargas drove onto eastbound Interstate 70 and continued on Interstate 70 across the

state border from Missouri into Illinois. Upon information and belief, Interstate 70 is a major

corridor for drug trafficking activity.

        14.     Vargas was traveling in the Corolla east on Interstate 70 when an Illinois State

Police trooper conducted a traffic stop for speeding.

        15.     When the trooper approached the Corolla, Vargas showed the trooper a California



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Health Department employment identification card and indicated he was a supervisor for “this,”

meaning the California Health Department. The identification card appeared to be issued by the

California Health Department for hazardous material removal.

       16.     Vargas then told the trooper he works for a national company and has a California

license.

       17.     Vargas stated he was travelling from St. Louis, Missouri to Indianapolis, Indiana.

       18.     Vargas provided a rental agreement for the Corolla. It showed that the vehicle was

rented on May 5, 2021, at Lambert International Airport in St. Louis, Missouri. Upon information

and belief, individuals participating in drug trafficking often utilize rental, rather than personal,

vehicles to transport drugs and drug proceeds.

       19.     The trooper asked Vargas to sit in the trooper’s patrol vehicle, and he gave Vargas

a written warning for speeding.

       20.     While sitting in the patrol vehicle, Vargas told the trooper his job site in St. Louis

was delayed and he was on his way to Indianapolis to visit his friends and family.

       21.     While sitting in the patrol vehicle, Vargas was breathing heavily, causing his chest

to noticeably rise.

       22.     The trooper asked Vargas for consent to search the Corolla. Vargas gave his

consent.

       23.     The trooper located a suitcase in the rear seat of the Corolla. Inside the suitcase, the

trooper discovered in a zipped compartment a large bundle of U.S. currency.

       24.     The trooper also located a black backpack in the rear seat of the Corolla. Inside the

backpack, the trooper discovered eight additional bundles of U.S. currency.

       25.     Each bundle of U.S. currency was bound in multiple rubber bands that appeared to



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be color-coded, either blue, red, or yellow, which is indicative of drug proceeds.

        26.     The U.S. currency was primarily comprised of denominations of $100 and $20 bills,

also indicative of drug proceeds.

        27.     Vargas was placed under arrest, and the trooper read Vargas his Miranda rights.

Vargas said he understood and did not want to speak with the trooper.

                                  COUNT ONE – FORFEITURE
                                     21 U.S.C. § 881(a)(6)

        28.     The United States incorporates by reference the allegations set forth in Paragraphs

1 to 27 above as if fully set forth herein.

        29.     The defendant property is bulk U.S. currency that was discovered by law

enforcement in bundles, bound in color-coded rubber bands, in denominations and a manner that

is consistent with drug trafficking. In addition, the defendant property was found concealed in

bags in a vehicle occupied by Vargas.

        30.     Based on the foregoing, the defendant currency is subject to forfeiture pursuant to

Title 21, United States Code, Section 881(a)(6) as money furnished or intended to be furnished in

exchange for a controlled substance, as proceeds traceable to such an exchange, and as money

used or intended to be used to facilitate a violation of the Controlled Substances Act.

                                  COUNT TWO – FORFEITURE
                                    18 U.S.C. § 981(a)(1)(A)

        31.     The United States incorporates by reference the allegations set forth in Paragraphs

1 to 27 above as if fully set forth herein.

        32.     The defendant currency is proceeds of an unlawful activity involving controlled

substances and was transported through the Eastern District of Missouri by Vargas with the intent

to promote the carrying on of, and to conceal or disguise the nature, location, source, ownership



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or control of, a specified unlawful activity.

        33.     Based on the foregoing, the defendant currency is subject to forfeiture, pursuant to

Title 18, United Stated Code, Section 981(a)(1)(A) as property involved in a transaction or

attempted transaction in violation of Title 18, United States Code, Section 1956, or as property

traceable to such property.

                                COUNT THREE – FORFEITURE
                                   18 U.S.C. § 981(a)(1)(C)

        34.     The United States incorporates by reference the allegations set forth in Paragraphs

1 to 27 above as if fully set forth herein.

        35.     The defendant currency is proceeds of an unlawful activity involving controlled

substances that travelled with Vargas in interstate commerce with the intent to distribute it, and

otherwise promote, manage, establish, carry on, or facilitate the promotion, management,

establishment, or carrying on, of an unlawful activity involving controlled substances.

        36.     Based on the foregoing, the defendant currency is subject to forfeiture, pursuant to

Title 18, United Stated Code, Section 981(a)(1)(C) as property that constitutes or is derived from

proceeds traceable to a violation of Title 18, United States Code, Section 1952.

                                      PRAYER FOR RELIEF

      WHEREFORE, the United States of America prays that a Warrant for Arrest be issued in

rem for the defendant currency and the defendant currency be condemned and forfeited to the

United States of America, in accordance with the provisions of law; and that the United States of




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America be awarded its costs in this action, and have such other relief as provided by law and the

nature of the case may require.

                                             Respectfully submitted,

                                             SAYLER A. FLEMING
                                             United States Attorney


                                             /s/ Jonathan A. Clow
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